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                                                      October 30, 2020

Via ECF

The Honorable A. Kathleen Tomlinson, U.S.M.J.
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722-9014

                            RE: Markowitz v. Precipart Corporation
                                Docket no. 2:20-cv-05033-GRB-AKT

Dear Magistrate Judge Tomlinson:

        This firm represents defendant, Precipart Corporation (“Precipart”), in the above-
referenced matter. We write, with Plaintiff’s consent, to request an extension of time until
December 7, 2020 for Precipart to respond to the Complaint. As this firm was only recently
retained to represent Precipart in this matter and accordingly accepted service on October 27,
2020 (and as such, Defendants’ response to the Complaint is currently due on November 17,
2020), the additional time is necessary to ensure that we have sufficient time to investigate and
properly respond to the allegations asserted in the Complaint. This is the first request for an
extension of time to respond to the Complaint.

           We thank Your Honor for all courtesies extended.

                                                      Respectfully submitted,

                                                      /s/ Joseph J. Ortego

                                                      Joseph J. Ortego


 cc: All counsel of record (via ECF)




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